                          Case 1:23-mj-05014-JGD
2-6   5HYLVHG86'&0$             Document 4-2 Filed 01/24/23 Page 1 of 2
Criminal Case Cover Sheet                                                           U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.         II                    Investigating Agency        IRS-CI

City                                              Related Case Information:

County       Plymouth                             6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                  6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU              23-mj-5014-JGD; See below
                                                  6HDUFK:DUUDQW&DVH1XPEHU              22-MJ-5041-JGD; See below
                                                  55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         Bill Dessaps                                            -XYHQLOH                G <HV G
                                                                                                              ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU            G          ✔
                                                                                                            <HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH     South Easton, MA

                      1976
%LUWKGDWH <URQO\ BBBBB661          5504
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB             5DFHBBBBBBBBBBB          1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                          $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         David M. Holcomb                                          %DU1XPEHULIDSSOLFDEOH      694712

Interpreter:            G <HV         G
                                      ✔ 1R                  /LVWODQJXDJHDQGRUGLDOHFW

Victims:               G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G  
                       ✔                                                                                        G <HV        1R

Matter to be SEALED:                  ✔
                                      G <HV       G     1R

          G✔ :DUUDQW5HTXHVWHG                        G 5HJXODU3URFHVV                        G ,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                   LQ                                       
G $OUHDG\LQ6WDWH&XVWRG\DW                                          G 6HUYLQJ6HQWHQFH              G $ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                    RQ

Charging Document:                    ✔ &RPSODLQW
                                      G                            G ,QIRUPDWLRQ                    G ,QGLFWPHQW
                                                                                                                   2
Total # of Counts:                    G 3HWW\                   G0LVGHPHDQRU                   G )HORQ\
                                                                                                    ✔

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     01/23/2023                          6LJQDWXUHRI$86$       V'DYLG0+ROFRPE
                         Case 1:23-mj-05014-JGD Document 4-2 Filed 01/24/23 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Bill Dessaps

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged            Count Numbers

6HW     18 U.S.C. § 1349                                               Conspiracy to Commit Wire Fraud                 1


6HW     18 U.S.C. § 1956(h)                                              Money Laundering Conspiracy                   2


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:                              Search Warrant numbers: 23-mj-5016-JGD; 23-mj-5017-JGD; 23-mj-5018-JGD

 Seizure Warrant: 23-mj-5019-JGD; 23-mj-5020-JGD; 23-mj-5021-JGD; 23-mj-5022-JGD; 23-mj-5023-JGD; 23-mj-5024-JGD

Related Complaints: 23-mj-5013-JGD; 23-mj-5015-JGD



86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
